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AO 245D-CAED (Rev. 9/01) Sheet 1 - Judgment in a Criminal Case for Revocation



                                   United States District Court
                                          Eastern District of California

         UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                    v.                                                 (For Revocation of Probation or Supervised Release)
                                                                       (For Offenses committed on or after November 1, 1987)
              DARNELL FOSTER
                    (Defendant’ s Name)                                Criminal Number: 2:05CR00125-08


                                                                       Caro Marks, AFD
                                                                       Defendant’ s Attorney

THE DEFENDANT:
[U]     adm it t ed guilt t o v iolat ion of c harges 1 and 3 as alleged in t he violat ion pet it ion f iled on 8 /2 5 /0 6 .
[ ]     w as f ound in v iolat ion of condit ion(s) of superv ision as t o charge(s)      af t er denial of guilt , as alleged in t he
        v iolat ion pet it ion f iled on   .
ACCORDINGLY, t he court has adjudicat ed t hat t he def endant is guilt y of t he f ollow ing v iolat ion(s):

V iolation Number                  Nature of V iolation                                  Date V iolation Occurred
1                             New Law V iolat ion (DUI - M isdem eanor)                  8 /2 1 /2 0 0 6
3                             New Law V iolat ion (Child Endagerm ent - Felony )         8 /2 1 /0 6



The court: [U] revokes: [ ] modifies: [ ] continues under same conditions of supervision heretofore ordered on          11/01/05 .

       The def endant is sent enc ed as prov ided in pages 2 t hrough 4 of t his judgm ent . The sent ence is im posed
pursuant t o t he Sent encing Ref orm A c t of 1 9 8 4 .

[U]     Charges 2 and 4 are dism issed.



         IT IS FURTHER ORDERED t hat t he def endant shall not if y t he Unit ed St at es A t t orney f or t his dist ric t w it hin
3 0 day s of any change of nam e, residenc e, or m ailing address unt il all f ines, rest it ut ion, cost s, and special
assessm ent s im posed by t his judgm ent are f ully paid.

                                                                                          1 1 /0 7 /2 0 0 6
                                                                                Dat e of Im posit ion of Sent ence




                                                                                  Signat ure of J udicial Of f icer


                                                               M ORRISON C. ENGLAND, JR., Unit ed St at es Dist rict J udge

                                                                                Nam e & Tit le of J udicial Of f icer


                                                                                      Nov em ber 1 7 , 2 0 0 6

                                                                                                Dat e
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AO 245B-CAED (Rev. 3/04) Sheet 2 - Imprisonment
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DEFENDA NT:               DA RNELL FOSTER


                                                        IMPRISONMENT
           The def endant is hereby com m it t ed t o t he cust ody of t he Unit ed St at es Bureau of Prisons t o be im prisoned
f or a t ot al t erm of 6 m ont hs .




[ ]     The court m ak es t he f ollow ing rec om m endat ions t o t he Bureau of Prisons:




[U]     The def endant is rem anded t o t he cust ody of t he Unit ed St at es M arshal.


[ ]     The def endant shall surrender t o t he Unit ed St at es M arshal f or t his dist rict .
        [ ] at        on     .
        [ ] as not if ied by t he Unit ed St at es M arshal.


[ ]     The def endant shall surrender f or serv ic e of sent ence at t he inst it ut ion designat ed by t he Bureau of
        Prisons:
        [ ] bef ore     on       .
        [ ] as not if ied by t he Unit ed St at es M arshal.
        [ ] as not if ied by t he Probat ion or Pret rial Serv ices Of f icer.
        If no suc h inst it ut ion has been designat ed, t o t he Unit ed St at es M arshal f or t his dist rict .

                                                              RETURN
I have executed this judgment as follow s:




        Defendant delivered on                                            to

at                                                  , w ith a certified copy of this judgment.




                                                                                                   UNITED STATES MARSHAL




                                                                                  By
                                                                                                     Deputy U.S. Marshal
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AO 245B-CAED (Rev. 3/04) Sheet 3 - Supervised Release
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                                                     SUPERVISED RELEASE
         Upon release from imprisonment, the defendant shall be on supervised release for a term of 30 months .


The defendant must report to the probation office in the district to w hich the defendant is released w ithin 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, st ate, or local crime.

The defendant shall not unlaw fully possess a controlled substance. The defendant shall refrain from any unlaw ful use of
controlled substance. The defendant shall submit to one drug test w ithin 15 days of release from imprisonment and at least
tw o periodic drug tests thereafter, not to exceed four (4) drug tests per month.

[]       The above drug testing condition is suspended based on the court' s determination that the defendant poses a low risk
         of future substance abuse. (Check, if applicable.)

[U]      The defendant shall not possess a firearm, destructive device, or any other dangerous w eapon. (Check, if applicable.)

[U]      The defendant shall submit to the collection of DNA as directed by the probation officer. (Check, if applicable.)

[]       The defendant shall register and comply w ith the requirements in the federal and state sex offender registration agency
         in the jurisdict ion of conviction, Eastern District of California, and in the state and in any jurisdict ion w here the
         defendant resides, is employed, or is a student. (Check, if applicable.)

[]       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in
accordance w ith the Schedule of Payments sheet of this judgment.

The defendant must comply w ith the st andard conditions that have been adopted by this court as w ell as w ith any additional
conditions on the attached page.

                               STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district w ithout permission of the court or probation officer;
2)    the defendant shall report to the probation officer and shall submit a truthful and complete w ritten report w ithin the first
      five days of each month;
3)    the defendant shall answ er truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)    the defendant shall support his or her dependants and meet other family responsibilities;
5)    the defendant shall w ork regularly at a law ful occupation unless excused by the probation officer for schooling, training or
      other acceptable reasons;
6)    the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol;
8)    the defendant shall not frequent places w here controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate w ith any persons engaged in criminal activity, and shall not associate w ith any person
      convicted of a felony unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsew here, and shall permit
      confiscation of any contraband observed in plain view by the probation officer;
11)   the defendant shall notify the probation officer w ithin seventy-tw o hours of being arrest ed or quest ioned by a law
      enforcement officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
      w ithout the permission of the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
      defendant' s criminal record or personal history or characteristics, and shall permit the probation officer to make such
      notifications and to confirm the defendant' s compliance w ith such notification requirement.
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                                 SPECIAL CONDITIONS OF SUPERVISION
        1.    The defendant shall submit to the search of his person, property, home, and vehicle by a
              United States Probation Officer, or any other authorized person under the immediate and
              personal supervision of the probation officer, based upon reasonable suspicion, without a
              search warrant. Failure to submit to a search may be grounds for revocation. The defendant
              shall warn any other residents that the premises may be subject to searches pursuant to this
              condition.
        2.    The defendant shall provide the probation officer with access to any requested financial
              information.
        3.    The defendant shall not incur new credit charges or open additional lines of credit without the
              approval of the probation officer.
        4.    As directed by the probation officer, the defendant shall participate in a correctional treatment
              program (inpatient or outpatient) to obtain assistance for drug or alcohol abuse.
        5.    As directed by the probation officer, the defendant shall participate in a program of testing
              (i.e. breath, urine, sweat patch, etc.) to determine if he has reverted to the use of drugs or
              alcohol.
        6.    The defendant shall abstain from the use of alcoholic beverages and shall not frequent those
              places where alcohol is the chief item of sale.
        7.    As directed by the probation officer, the defendant shall participate in a co-payment plan for
              treatment or testing and shall make payment directly to the vendor under contract with the
              United States Probation Office of up to $25 per month.
